      Russell J. Kendzior                                             5/22/2017

      · · · · · ··IN THE UNITED STATES DISTRICT COURT
      · · · · · ·FOR THE EASTERN DISTRICT OF TENNESSEE
      · · · · · · · · · · · ·AT KNOXVILLE
      ·
      ·PHYLLIS G. BARNES and· · · ··§
      ·WALTER R. BARNES,· · · · · ··§
      · · ··Plaintiffs,· · · · · · ·§
      · · · · · · · · · · · · · · ··§
      ·VS.· · · · · · · · · · · · ··§
      · · · · · · · · · · · · · · ··§ NO. 3:15-cv-00556-PLR-HBG
      ·GREG MALINAK, DEBBIE· · · · ·§
      ·MALINAK, and SIDNEY JAMES· ··§
      ·MOTOR LODGE, INC., d/b/a· · ·§
      ·OLDE GATLINBURG RENTALS,· · ·§
      · · ··Defendants.· · · · · · ·§
      ·
      ·
      ·
      ·
      ·
      · · · · · ··-----------------------------------
      · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
      · · · · · · · · · ··RUSSELL J. KENDZIOR
      · · · · · · · · · · · ··MAY 22, 2017
      · · · · · ··-----------------------------------
      ·
      ·
      ·
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      ·
      · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF RUSSELL J.
      ·
      ··KENDZIOR, produced as a witness at the instance of the
      ·
      ··Defendants, and duly sworn, was taken in the
      ·
      ··above-styled and -numbered cause on May 22, 2017, from
      ·
      ··10:21 a.m. to 2:20 p.m., before Angela L. Mancuso, CSR
      ·
      ··No. 4514 in and for the State of Texas, reported by
      ·
      ··Stenographic method, at the offices of Stryker
      ·
      ··Reporting, 1452 Hughes Road, Suite 200, Grapevine,
      ·
      ··Texas, pursuant to the Federal Rules of Civil Procedure,
      ·
      ··Notice, and any provisions stated on the record.

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                                                                               6
  ·1·· · ·Q.· ·And where --
  ·2·· · ·A.· ·Here in Southlake.
  ·3·· · ·Q.· ·That's in Southlake?
  ·4·· · ·A.· ·Yes.
  ·5·· · ·Q.· ·Okay.··We'll talk about that a little later.
  ·6·· · · · ··Tell me about your education after high
  ·7··school.
  ·8·· · ·A.· ·I have a Bachelor of Science degree in
  ·9··mathematics from Bradley University, and that was in
  10··1985 that I graduated.
  11·· · ·Q.· ·Okay.··How long did it take you to complete
  12··your degree?
  13·· · ·A.· ·Well, I worked and went to school and had to
  14··take off, so it took about seven years.
  15·· · ·Q.· ·Okay.··Other than your degree in mathematics,
  16··do you have any other degrees of any kind?
  17·· · ·A.· ·No.
  18·· · ·Q.· ·No postgraduate degrees?
  19·· · ·A.· ·No.
  20·· · ·Q.· ·You're not a licensed engineer?
  21·· · ·A.· ·I am not.
  22·· · ·Q.· ·And you're not a licensed architect?
  23·· · ·A.· ·No.
  24·· · ·Q.· ·Okay.··Do you have any specialty-type training
  25··or certifications in the field of slip-and-falls?

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  ·1·· · ·A.· ·Yes.
  ·2·· · ·Q.· ·Tell me about those.
  ·3·· · ·A.· ·Actually, it's a broader area.··It's walkway
  ·4··safety that --
  ·5·· · ·Q.· ·Okay.
  ·6·· · ·A.· ·-- involves slips, trips, many different types
  ·7··of stumbles, different falls.··I'm a Walkway Auditor
  ·8··Certificate Holder, or WACH, W-A-C-H, as better known,
  ·9··which is an ANSI accreditation.··It's a professional
  10··designation issued through the National Floor Safety
  11··Institute, which is the ANSI -- and that's A-N-S-I --
  12··accredited training organization in the area of slip,
  13··trip, and fall prevention.
  14·· · · · ··I also have a training in -- from OSHA.··I
  15··have both the 10- and 30-hour-level training from OSHA
  16··in their general industry requirements for their Code of
  17··Federal Regulations, Section 29, for occupational safety
  18··and health.
  19·· · · · ··I also have a license from the State of Texas
  20··to perform walkway inspections, or inspections in
  21··general, not just walkways, for the Texas Accessibility
  22··Standard, or TAS.··I'm licensed as a registered
  23··accessibility specialist with the State, through the
  24··State's Department of Licensing and Regulations.··So I
  25··do a lot of work with the -- what is commonly known as

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  ·1··the ADA.
  ·2·· · · · ··Received a lot of other forms of training
  ·3··through my 20-plus years of experience, through
  ·4··organizations like the National Safety Council, which I
  ·5··served on their board of delegates for four or five
  ·6··years; the American Society of Safety Engineers; the
  ·7··American Society of Testing and Materials, or ASTM.··So
  ·8··I've probably exhausted all the forms of training that
  ·9··are available in my area of expertise.
  10·· · ·Q.· ·Any of those that you mentioned, any of those
  11··relevant to bath mats?
  12·· · ·A.· ·Well, yes.··All areas of walkway safety,
  13··whether it be mats or floors or rugs, which are all --
  14··which are all, by the way, all different.··So --
  15·· · ·Q.· ·Do you have any specific training in just bath
  16··mats?
  17·· · ·A.· ·Well, I -- what do you mean, bath mats?··This
  18··is -- we're talking about a bath towel here.
  19·· · ·Q.· ·Okay.··We've been referring to it as -- as a
  20··cotton terry bath mat.
  21·· · ·A.· ·Yeah.··It's actually a towel.··It's called a
  22··mat.
  23·· · · · ··And, no, I don't have any training in terry
  24··cloth bath towels.··I do have experience in that area as
  25··it relates to a pending standard that's being developed

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  ·1··right now by the ASTM for bath mat performance.··There
  ·2··is actually a standard being developed for bath mats
  ·3··right now, and I'm part of the committee on the ASTM
  ·4··that's developing that standard.
  ·5·· · ·Q.· ·I take it by you saying the standard -- the
  ·6··ASTM standard is being developed, it's not out there yet
  ·7··as a standard yet.··Is that correct?
  ·8·· · ·A.· ·That's correct.··It's not published yet.
  ·9·· · ·Q.· ·The walkway auditor via ANSI, was that a
  10··course that you took?
  11·· · ·A.· ·Yes.
  12·· · ·Q.· ·How many hour course was that?
  13·· · ·A.· ·It's four days, and so it takes a total of --
  14··well, it's actually three days of training and a fourth
  15··day as an examination day.
  16·· · ·Q.· ·Okay.
  17·· · ·A.· ·So it's 24 hours.
  18·· · ·Q.· ·Twenty-four-hour course.··You had to take an
  19··examination?
  20·· · ·A.· ·A written exam and a audit.··You have to
  21··perform a walkway audit.
  22·· · ·Q.· ·Okay.··And did you pass that exam?
  23·· · ·A.· ·I did.
  24·· · ·Q.· ·Was there anything specific to cotton --
  25··cotton terry bath mats in -- in that course?

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  ·1·· · ·A.· ·No.
  ·2·· · ·Q.· ·The OSHA 10- and 30-hour training regarding
  ·3··CFR 29 -- I guess that is what it says -- you took a
  ·4··10-hour course and a 30-hour course?
  ·5·· · ·A.· ·Yes.
  ·6·· · ·Q.· ·Okay.··And you're not saying that anything in
  ·7··this case has anything to do with OSHA, are you?
  ·8·· · ·A.· ·No.
  ·9·· · ·Q.· ·Okay.··Anything in your OSHA training that was
  10··specific to bath mats?
  11·· · ·A.· ·No.
  12·· · ·Q.· ·You mentioned you had a license in Texas to
  13··perform walkway inspections regarding the ADA.
  14·· · · · ··Do you have any licenses from the State of
  15··Tennessee in anything whatsoever?
  16·· · ·A.· ·No.
  17·· · ·Q.· ·Okay.··And you're not contending that the ADA
  18··is applicable in this case, are you?
  19·· · ·A.· ·No.··My understanding is the plaintiff,
  20··Ms. Barnes, is not or was not classified as being
  21··disabled and therefore not protected by the class of
  22··dis -- disability.
  23·· · ·Q.· ·I believe you mentioned the National Safety
  24··Council.··Was that a course?
  25·· · ·A.· ·A series of courses.

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  ·1·· · ·Q.· ·How many hours?
  ·2·· · ·A.· ·Gosh, it goes back quite a few years.
  ·3··Probably four to eight hours total.
  ·4·· · ·Q.· ·Okay.··And anything in the National Safety
  ·5··Council course that had to do specifically with cotton
  ·6··terry bath mats?
  ·7·· · ·A.· ·No.
  ·8·· · ·Q.· ·And the next one, if my shorthand is correct,
  ·9··did you say American Society of Safety Engineers?
  10·· · ·A.· ·Yes.
  11·· · ·Q.· ·Okay.··And was that a course?
  12·· · ·A.· ·Seminars.··All these were seminars or Webinars
  13··or special training classes or programs.
  14·· · ·Q.· ·Okay.··And you don't have to be an engineer to
  15··be a member of the American Society of Safety Engineers?
  16·· · ·A.· ·I don't know.··I don't know if you do or not.
  17··I think there is some requirement for expertise or
  18··experience in engineering.
  19·· · ·Q.· ·But you're not an engineer?
  20·· · ·A.· ·I'm not.
  21·· · ·Q.· ·Okay.··Anything in any training you've taken
  22··with the American Society of Engineers specific to
  23··cotton terry bath mats?
  24·· · ·A.· ·No.
  25·· · ·Q.· ·And the last one I didn't get.··You mentioned

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  ·1··cleaning product that was a treatment called TP-421.
  ·2··From there, the line grew.
  ·3·· · ·Q.· ·Do you have any knowledge about what the floor
  ·4··in this case we're here about today had been cleaned
  ·5··with prior to the plaintiffs being in the bathroom?
  ·6·· · ·A.· ·No.
  ·7·· · ·Q.· ·Does anyone employed by Traction Plus have a
  ·8··degree in engineering or architecture?
  ·9·· · ·A.· ·No.
  10·· · ·Q.· ·Anybody employed by Traction Plus have any
  11··advanced degree of any kind?
  12·· · ·A.· ·No.
  13·· · ·Q.· ·1997 to present, you say "Founder & Chairman
  14··of the Board of the National Floor Safety Institute."
  15·· · · · ··So this is something that you founded; is that
  16··correct?
  17·· · ·A.· ·Yes.
  18·· · ·Q.· ·And this is a 501(c)(3) nonprofit?
  19·· · ·A.· ·Yes.
  20·· · ·Q.· ·Tell me what the National Floor Safety
  21··Institute does.
  22·· · ·A.· ·The NFSI, as we're better known, has a fairly
  23··simple mission of aiding in the prevention of slips,
  24··trips, and falls through education, research, and
  25··standards development.

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  ·1··we actually authored a floor mat standard.··There is an
  ·2··ANSI standard for entranceway floor mats, and we do
  ·3··training on matting, and we -- but not a towel, which in
  ·4··this case is being used as a mat.
  ·5·· · · · ··We do training on grab bars as well.··It's
  ·6··part of the walkway auditor training.
  ·7·· · ·Q.· ·Okay.··You said NFSI certifies products with
  ·8··ANSI, including bath mats.
  ·9·· · · · ··What bath mats do you certify?
  10·· · ·A.· ·Well, what, by definition, constitutes a
  11··mat -- maybe it'll help to start with that -- is that it
  12··has to have a -- mats have a surface that you step on
  13··that's absorbent, like cotton, but it also has a
  14··specific and different backing.··The backing of the mat
  15··is different than the face of the mat.
  16·· · · · ··And so the backing that we test for
  17··manufacturers for slip resistance are the type that have
  18··like a rubber type of backing or -- there's different
  19··synthetic material.··So if you go into, for example,
  20··a -- I don't know -- JCPenney's and you buy a bath mat,
  21··20-by-30-inch bath mat, you'll notice that they're all
  22··NFSI certified.··It has the logo on the back.··But we
  23··certify all types of mats, not just bath mats.··But we
  24··certify entranceway mats, anti-fatigue mats, the various
  25··types of floor matting products that are widely used

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·1··to term it, like the one that was used in this case,
·2··have you?
·3·· · ·A.· ·No.··I've never designed a towel.
·4·· · ·Q.· ·Okay.··Do you give active lectures, talks now
·5··in the field of bathroom safety with regard to bath
·6··mats, grab bars?··Is that something you do on a regular
·7··basis?
·8·· · ·A.· ·I've done those types of programs.··I wouldn't
·9··say on a regular basis.··I think we've discussed some of
10··the training I've done over the years in that area.
11·· · ·Q.· ·Your publications that we've talked about,
12··have those been peer-reviewed?··And I guess I should ask
13··you if you know what peer-reviewed means.
14·· · ·A.· ·Yes and no.··Yes, I know what it means.··And,
15··no, they have not been peer-reviewed.
16·· · ·Q.· ·Okay.··Have any of your publications been
17··peer-reviewed?
18·· · ·A.· ·I don't write to that industry, so, no.
19·· · ·Q.· ·Okay.··And when you say "that industry," what
20··are you referring to?
21·· · ·A.· ·The technical industry, the scientific
22··industry, which is where peer review is important.··I've
23··been a peer reviewer, but I don't author peer-reviewed
24··stories, research.
25·· · ·Q.· ·Other than the ones we have talked about, your

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·1··any of your opinions in this case?
·2·· · ·A.· ·No.
·3·· · ·Q.· ·Have you ever talked to the plaintiffs, either
·4··Phyllis G. Barnes or Walter R. Barnes, about any of the
·5··issues in this case?
·6·· · ·A.· ·No.
·7·· · ·Q.· ·Did anybody tell you that the plaintiffs
·8··weren't available to talk or couldn't remember the
·9··events or anything like that?
10·· · ·A.· ·No.
11·· · ·Q.· ·Have you corresponded with the plaintiffs
12··about any issues in this case?
13·· · ·A.· ·No.
14·· · ·Q.· ·And you haven't talked with or corresponded
15··with any of the named defendants in this case, have you?
16·· · ·A.· ·No.
17·· · ·Q.· ·In looking at your file and materials you
18··reviewed, I didn't see in there where you had reviewed
19··any of the defendants' answers.··Is that correct?
20·· · ·A.· ·Unless they were on the disk, I didn't receive
21··them.··I obviously didn't review them.
22·· · ·Q.· ·Okay.··We'll look at the disk at a break.
23·· · · · ··Did you have any conversations with
24··plaintiffs' counsel about the facts of the case?
25·· · ·A.· ·Probably when I was initially retained, by way

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·1··of a telephone call they described the case, the
·2··situation, the basic facts.··I say that because that's
·3··traditionally what happens.··Before I accept being --
·4··taking on a case, they kind of give me the facts.
·5·· · ·Q.· ·And you don't make any notes when you have
·6··those telephone calls?
·7·· · ·A.· ·No.
·8·· · ·Q.· ·Okay.
·9·· · ·A.· ·Because a lot of times I turn down the case or
10··I never hear from the attorney again.··So --
11·· · ·Q.· ·So your opinions and conclusions in this case
12··were derived from the facts and data that are contained
13··in your file that we reviewed and on the thumb drive
14··that we're going to review and the things you cite in
15··your reports; is that correct?
16·· · ·A.· ·Yes.
17·· · ·Q.· ·Okay.
18·· · ·A.· ·In fact, my opinions are based on what I cite
19··in my report.
20·· · ·Q.· ·And you haven't been to this condominium where
21··the plaintiff fell in Gatlinburg, Tennessee, have you?
22·· · ·A.· ·No.
23·· · ·Q.· ·Did you send anyone to this condo on your
24··behalf to do any testing or examine the scene for you?
25·· · ·A.· ·No.

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·1··that are expressed that I assume are yours.
·2·· · ·A.· ·Yes.
·3·· · ·Q.· ·Okay.··If you will turn to page 2 on
·4··Exhibit 1, the second paragraph, the first block
·5··paragraph, it starts with, "Sidney James Motor Lodge
·6··d/b/a Olde Gatlinburg Condominium Rentals and the owners
·7··Greg and Deb Malinak breached the standard of care they
·8··owed to the Plaintiffs to provide them a bath mat that
·9··would not slip when used for exiting the bathtub."
10·· · · · ··What, if any, codes, laws, standards,
11··ordinances do you point to to support that contention?
12·· · ·A.· ·That the mat was slippery?
13·· · ·Q.· ·For your statement that I just read that
14··owed -- "breached the standard of care that they owed to
15··the Plaintiffs to provide them a bath mat that would not
16··slip when used for exiting the bathtub."
17·· · ·A.· ·Yeah.··There's actually several standards, and
18··they're actually in my second report, I guess, what I
19··call my report.··One's an ASTM standard, and the other
20··one is the ANSI B101.6 standard that calls for matting
21··to have a slip-resistant backing.
22·· · ·Q.· ·Both the ASTM and ANSI standards are voluntary
23··standards, aren't they?
24·· · ·A.· ·Yes.
25·· · ·Q.· ·And what does -- what does that mean to you

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·1··when I say "voluntary standard"?
·2·· · ·A.· ·They're not mandated by law.
·3·· · ·Q.· ·They're not mandated by any law in Sevier
·4··County, Tennessee; Gatlinburg, Tennessee; or the State
·5··of Tennessee, are they?
·6·· · ·A.· ·No.
·7·· · ·Q.· ·Next there in that same paragraph, about four
·8··lines down, you say specific -- I'm quoting --
·9··"Specifically, these Defendants failed to provide a
10··suitable bath mat for the type of flooring that was in
11··the condominium rented by the Plaintiffs on the day in
12··question.··Bath towels are not bath mats and should not
13··be used as such."
14·· · ·A.· ·Uh-huh.
15·· · ·Q.· ·Are you again relying on ASTM and ANSI for
16··those statements?
17·· · ·A.· ·Well, not only ASTM and ANSI, but this subject
18··bath mat was not a mat.··It was a towel.··And it's not
19··intended to be used as a mat.··It's an absorbent towel.
20·· · ·Q.· ·What is your basis for saying that it's not
21··intended to be used as a mat?
22·· · ·A.· ·It's not marketed or sold as a mat.··I mean,
23··the companies who produce bath towels do not label them
24··as bath mats.
25·· · ·Q.· ·Have you stayed in hotels, motels, or other

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·1·· · ·A.· ·It appeared to be some type of a vinyl tile
·2··surface.··It was a tile of some type.··I think
·3··Mrs. Barnes referred -- referred to it as linoleum.
·4·· · ·Q.· ·Okay.
·5·· · ·A.· ·But it appeared to be a synthetic tile.
·6·· · ·Q.· ·When you say "synthetic tile," what does that
·7··mean?
·8·· · ·A.· ·Meaning some type of vinyl or linoleum-type
·9··material --
10·· · ·Q.· ·Okay.
11·· · ·A.· ·-- versus that of a ceramic tile.
12·· · ·Q.· ·Okay.
13·· · ·A.· ·But again, that's based on Ms. -- the
14··Barneses' testimony as well as the photographs.··I
15··didn't actually see the tile firsthand.
16·· · ·Q.· ·Okay.··Some kind of synthetic tile like vinyl
17··or linoleum?
18·· · ·A.· ·Yeah, or it could have been ceramic.··I just
19··don't know.
20·· · ·Q.· ·Okay.··You've never tested the actual floor?
21·· · ·A.· ·No.
22·· · ·Q.· ·Are you aware of any prohibition against vinyl
23··floors in overnight rental accommodations in Sevier
24··County, Tennessee?
25·· · ·A.· ·Wow, that's a -- prohibition by who?

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·1·· · ·Q.· ·Laws, ordinances --
·2·· · ·A.· ·No.
·3·· · ·Q.· ·-- regulations, anything you can point to that
·4··says you can't have vinyl floors in a bathroom in an
·5··overnight rental in --
·6·· · ·A.· ·No.
·7·· · ·Q.· ·-- Sevier County, Tennessee?
·8·· · ·A.· ·No, not that I know of.··I don't know of
·9··prohibition of floors anywhere, for that matter.
10·· · ·Q.· ·Your next sentence there, it says, bath --
11··quote, "Bath towels are not bath mats and should not be
12··used as such."
13·· · · · ··Is that based on ASTM?··ANSI?··What's that
14··based on?
15·· · ·A.· ·Well, you don't use towels as mats because a
16··towel is not a mat, regardless of the fact that, at
17··least in this case, they're referred to as mats.
18··They're not.
19·· · · · ··It's like saying let's put paper towels -- or
20··better yet let's take a piece of cardboard.··Put that on
21··the ground and call it a mat.··People do that.··Go into
22··industrial applications where they put card -- they put
23··cardboard down.··Well, cardboard is not a mat any more
24··than a towel is a mat.··So it's really by the definition
25··of the term "mat."

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·1·· · ·A.· ·Probably all the above, yeah.··Both.··And lack
·2··of grab bars.
·3·· · ·Q.· ·I'm going to show you a copy of the American
·4··National Standard, I believe, that you cited in the next
·5··section of your first report as facts or data you
·6··considered in forming your opinions.
·7·· · · · ··Does that look like the ANSI standards?
·8·· · ·A.· ·Yes.
·9·· · ·Q.· ·Okay.··If we could make that the next exhibit,
10··please.
11·· · · · · · · ·(Deposition Exhibit 6 marked)
12·· · ·Q.· ·And do I have the right section?··I think I
13··do.··1264.2, 2012, is what you said you relied on and
14··that's what --
15·· · ·A.· ·Yes.
16·· · ·Q.· ·And what number is that?
17·· · ·A.· ·6.
18·· · ·Q.· ·6.··If you'd look on -- it's not numbered, but
19··it's the fourth page.··Looks like this.
20·· · ·A.· ·Oh, okay.··Yes.
21·· · ·Q.· ·Sort of introductory remarks.··If you'd look
22··about midway down through there -- and I'm quoting -- it
23··says, "The use of American National Standards is
24··completely voluntary."··Is that -- did I read that
25··correctly?

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·1··than it is wider.
·2·· · ·Q.· ·So like when you walk into Walmart after it's
·3··been raining --
·4·· · ·A.· ·Yes.
·5·· · ·Q.· ·-- is that a runner?
·6·· · ·A.· ·That's a runner.
·7·· · ·Q.· ·Okay.
·8·· · ·A.· ·I don't know if it matters, but you brought it
·9··up earlier about warnings.
10·· · ·Q.· ·Yes.
11·· · ·A.· ·That's also a section.
12·· · ·Q.· ·Which section is that?
13·· · ·A.· ·Section 9.
14·· · ·Q.· ·Is there a specific subsection in 9 that
15··applies?··Or you say all of 9 applies?
16·· · ·A.· ·Most of 9, not all, but many of the sections
17··in 9 apply.
18·· · ·Q.· ·Next, you cite the National Floor Safety
19··Institute 101-C.··Is that a correct copy of what you
20··cited?
21·· · ·A.· ·Yes.
22·· · ·Q.· ·Could we make that the next numbered exhibit,
23··please.
24·· · · · · · · ·(Deposition Exhibit 7 marked)
25·· · ·Q.· ·And this is the one you created, founded, the

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·1··National Floor Safety Institute; is that correct?
·2·· · ·A.· ·Yes.··This is their standard.
·3·· · ·Q.· ·Did you write this standard?
·4·· · ·A.· ·I was one of the co-authors, yes.
·5·· · ·Q.· ·And this is dealing with testing the
·6··coefficient of friction; is that right?
·7·· · ·A.· ·The transitional coefficient of friction, yes.
·8·· · ·Q.· ·Transitional?
·9·· · ·A.· ·Yes.
10·· · ·Q.· ·In Section 1.3 of Exhibit 7, the last
11··sentence, you say, quote, "No express or implied
12··representation or warranty is made regarding accuracy or
13··significance of any test results in terms of slip
14··resistance."··Period.··End quote.··Is that right?
15·· · ·A.· ·Yes.
16·· · ·Q.· ·What do you mean by that?
17·· · ·A.· ·Well, it's up to the user, the manufacturer,
18··to decide for themselves what they would consider
19··appropriate for their -- their application of a mat.
20·· · ·Q.· ·Do -- somebody who downloads this, do they
21··have to pay for a copy of this document?
22·· · ·A.· ·I don't know.··That's a good question.··I
23··don't know.··They might.··I know -- I know the ANSI
24··standards, there is a cost.··But there is a period of
25··time where I don't think we charged for downloads of

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·1··this standard.··That may have changed.
·2·· · ·Q.· ·In Section 1.4 of Exhibit 7, the NFSI
·3··standards, you state, quote, "This test meth" -- excuse
·4··me -- "This test method is not recommended for wet
·5··surface testing and does not propose to be an accurate
·6··measurement method for determining wet surface slip
·7··resistance."··Period.··End quote.
·8·· · · · ··Do you know whether the bathroom floor was wet
·9··or dry when Ms. Barnes stepped out, in the area where
10··she stepped out of the tub?
11·· · ·A.· ·I don't know.··When you say "wet," meaning
12··water on the floor or --
13·· · ·Q.· ·Yeah.
14·· · ·A.· ·I think she talked about humidity.··There was
15··an exhaust fan or something that would take -- when you
16··shower, it kind of gets foggy.··So that level of
17··humidity was present.··But it's my understanding that
18··the floor was not wet.
19·· · ·Q.· ·And this standard, the National Floor Safety
20··Institute standard that we're looking at, it is also a
21··voluntary standard; is that right?
22·· · ·A.· ·Yes.
23·· · ·Q.· ·It is not legally applicable to rental condos
24··in Sevier County, Tennessee, is it?
25·· · ·A.· ·Well, again, it's not -- it's not a law.

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·1··There is no mandated use of the standard --
·2·· · ·Q.· ·No --
·3·· · ·A.· ·-- by law.
·4·· · ·Q.· ·No code, no Sevier County code, ordinance,
·5··Tennessee law, anything like that has adopted the
·6··standard, have they?
·7·· · ·A.· ·Not that I know of, no.
·8·· · ·Q.· ·Take a look at Section 5, if you would, before
·9··we leave Exhibit 7.
10·· · ·A.· ·Okay.
11·· · ·Q.· ·Calculation/Data Interpretation.··You say,
12··quote, in the second -- third sentence -- I'm sorry --
13··last sentence in that first part, "Dry" is that
14··"transitional coefficient of friction values of 0.50 or
15··greater are those that demonstrate High Traction
16··characteristics as defined in this standard."··End
17··quote.
18·· · · · ··What's the basis for that statement?
19·· · ·A.· ·What do you mean, the basis?
20·· · ·Q.· ·This standard that you've professed here of
21··0.50 or greater demonstrates high traction, how -- how
22··did you arrive -- what's the basis for that standard?
23··How did you arrive at 0.50?
24·· · ·A.· ·Okay.··Good question.··The standard is based
25··on a normal person's ambulation.··If you were to watch

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·1·· · ·A.· ·Yes.
·2·· · ·Q.· ·And the ASTM standards are also voluntary and
·3··non-mandatory, aren't they?
·4·· · ·A.· ·Yes.
·5·· · ·Q.· ·Okay.
·6·· · ·A.· ·But it also talks about enhancing safety.
·7·· · ·Q.· ·Okay.··Are you aware of any Tennessee or
·8··Sevier County code, law, ordinance, anything like that
·9··that adopts the ASTM standards?
10·· · ·A.· ·Oh, I'm sure there are.··I don't know of
11··every -- I don't know every standard that the county
12··recognizes.··That's kind of -- puts me in an unfair
13··position to answer that question.··I'm not an expert on
14··what the county -- every county standard or code that's
15··referenced would be.
16·· · ·Q.· ·Have you looked at any Tennessee laws as part
17··of your work in this case?
18·· · ·A.· ·No.
19·· · ·Q.· ·Have you looked at any Sevier County building
20··codes?
21·· · ·A.· ·No.··This has nothing to do with building
22··codes.
23·· · ·Q.· ·Have you looked at any Sevier County
24··ordinances?
25·· · ·A.· ·No.

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·1·· · ·Q.· ·So I'm looking at Exhibit 9, which is
·2··F1637-10.··I'll narrow my question.
·3·· · · · ··Are you aware of any Tennessee law or Sevier
·4··County ordinance, code, anything at all that references
·5··or adopts ASTM F1637-10 to make it applicable in Sevier
·6··County, Tennessee?
·7·· · ·A.· ·No.
·8·· · ·Q.· ·Okay.··And which portions of -- or is it all
·9··of Exhibit 9, F1637-10, that you say is applicable to
10··this case?
11·· · ·A.· ·No.··Section 1, Scope, of course defines,
12··second sentence, first paragraph.··"This practice is
13··intended to provide reasonably safe walking surfaces for
14··pedestrians wearing ordinary footwear.··These guidelines
15··may not be adequate for those with certain mobility
16··impairments."··And so this is really designing or
17··defining what is the standard of care for a safe walking
18··surface, number one.
19·· · · · ··And then the only other section that applies
20··is Section 5.4, which is Mats and Runners, and it kind
21··of defines the importance of using a mat and a runner --
22··or a runner.
23·· · · · ··This particular towel does not constitute, by
24··definition, a mat or a runner.··And so this ASTM F1637
25··standard kind of sets forth the provision for proper use

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·1··of such mats and runners, where, in this case, there was
·2··no mat or runner used.
·3·· · ·Q.· ·That sentence you just read, under Scope,
·4··says, "This practice is intended to provide reasonably
·5··safe walking surfaces for pedestrians wearing ordinary
·6··footwear."
·7·· · ·A.· ·Right.
·8·· · ·Q.· ·Ms. Barnes wasn't wearing ordinary footwear,
·9··was she?
10·· · ·A.· ·No.
11·· · ·Q.· ·So then how is F1637-10 applicable at all?
12·· · ·A.· ·Well, this is a towel that's used in the
13··bathroom where people may come into the bathroom after
14··they're showered and step on it with a shoe or footwear.
15··It's not specific.··In other words, the bath towel that
16··you mentioned are widely used in hotels, I would expect
17··that people do walk into the bathroom and step on them
18··both without shoes and with shoes.··So the product
19··itself, the towel, has to sustain a level of safety with
20··shoes and, in the case of Ms. Barnes, without shoes.
21·· · ·Q.· ·Look at Section 4, if you would, please,
22··Significance and Use.
23·· · ·A.· ·Uh-huh.
24·· · ·Q.· ·Last sentence says, "Swimming pools, bath
25··tubs, showers, natural walks, and unimproved paths are

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·1··26-inch-by-21-inch terry cloth bath towel.··So that's
·2··how it's referenced.··The 3-inch-by-3-inch section that
·3··was cut out of it was actually cut out per the NFSI test
·4··method.··That's the size of the sample that's required
·5··to -- to test.··Measurements were taken in four
·6··directions and averaged as it relates to the bath towel.
·7··And a transitional coefficient of friction value was
·8··generated.
·9·· · ·Q.· ·What was that transitional coefficient of
10··friction figure?
11·· · ·A.· ·It's on page 3 of my report, second paragraph.
12··The value was 0.14.
13·· · ·Q.· ·Did you use a tribometer?
14·· · ·A.· ·Yes.
15·· · ·Q.· ·Tell -- tell me about that process.··I've
16··never used a tribometer.··I know what they do.··I've
17··never -- never used one.··Only seen pictures.··Tell
18··me -- walk me through that process of how you tested
19··this, what you call bath towel.
20·· · ·A.· ·The tribometer that's specified within the
21··NFSI 101-C standard is a device called the Brungraber --
22··that's B-r-u-n-g-r-a-b-e-r -- Mark II test device.··And
23··it's a articulated strut device where you can change the
24··angle of the strut so as it's coming down on the floor,
25··you get a change of angle.

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·1·· · · · ··It has a 5-pound weight that comes down at the
·2··designated angle.··It transfers the weight through a
·3··3-inch-by-3-inch metal plate which is mounted onto the
·4··strut.··And so this particular bath mat is attached to
·5··the plate, so it's going to strike the ground with the
·6··mat attached, if you will, to the articulated strut.
·7·· · · · ··Beneath the device is a standardized tile.
·8··It's called -- it's a calibration tile that has a known
·9··coefficient of friction of 0.5, which is kind of an
10··average tile.··It's not high traction.··It's not low
11··traction.··It's kind of an average coefficient of
12··friction tile.
13·· · · · ··And so once the tile -- I'm sorry -- the mat
14··strikes the tile at whatever designated angle, kind of
15··simulates somebody stepping on the mat at that angle.
16··And it -- and when it contacts the tile, the mat -- in
17··this case, the towel will actually slide or it will
18··stick, meaning it won't move.··It won't slip on the
19··floor.
20·· · · · ··And so any value above a 0.5 would constitute
21··a high-traction material, meaning if you were to walk
22··across it at that angle, it wouldn't slip.··In this
23··case, it was very low, 0.14, which means this particular
24··towel will move at a very, you know, steep angle.··Just
25··walking across it, it's going to move without stepping

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·1··on it at a -- at a extended gait.
·2·· · ·Q.· ·How did you arrive at the angle that you used
·3··for the testing?
·4·· · ·A.· ·On the device, you continue to rotate it.··You
·5··continue to rotate the angle until it doesn't slip.··And
·6··so a value of point -- of -- of less than 0.14, it was
·7··not sliding, or slipping, I should say.··So at a value
·8··of 0.10, it wouldn't slide.··At a value of 1.11, it
·9··doesn't slide.··But then when we got up to value of
10··0.14, that's what triggers to slip.··And that's the
11··number that's recorded.··And it's an average of four --
12··this sample is rotated in four directions.··So it's
13··tested in that direction, this direction, this direction
14··to get an average direction.
15·· · ·Q.· ·Do you know what angle Ms. Barnes stepped out
16··of the tub onto the towel?
17·· · ·A.· ·No.··I don't know.··I wasn't there.··I don't
18··know.
19·· · ·Q.· ·And you said you used a test tile to test the
20··transitional coefficient of friction; is that correct?
21·· · ·A.· ·Yes.
22·· · ·Q.· ·The floors in this condo are not tile, though,
23··are they?··They're vinyl or linoleum.
24·· · ·A.· ·Yes.··And again, we're just using a
25··representative average type of floor material.··In this

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·1··case, as I said, I don't know what the coefficient of
·2··friction of the tile was in this particular bathroom,
·3··but it would be comparable to an average surface, I
·4··assume.
·5·· · ·Q.· ·Did you do this testing you've described, or
·6··did you have someone else do it?
·7·· · ·A.· ·No.··I did it.
·8·· · ·Q.· ·Under the Background section on Exhibit 10,
·9··about midway down there, you say, quote, "The bath towel
10··was provided by the Defendant as a bathmat."··And you go
11··on.
12·· · · · ··Are you referring to one defendant or all
13··defendants?··Who were you referring to there?
14·· · ·A.· ·I would presume all the defendants.··But
15··specifically the defendant, your -- your client, who was
16··providing this for use as a room.
17·· · ·Q.· ·Next sentence there, you say, "The flooring
18··material in room number 504 was that of a smooth and
19··lightly colored 12" X 12" tile."
20·· · ·A.· ·Uh-huh.
21·· · ·Q.· ·Where did you get those measurements?
22·· · ·A.· ·If you look at the photograph we talked about
23··earlier, you can see the lines in the tile.··Looks like
24··a vinyl tile.··Vinyl tile has a 12-inch-by-12-inch,
25··roughly, pattern.··You can see that there is actually

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·1··some spaces between the tile.··So it was kind of an
·2··estimate.
·3·· · · · ··It also could have been a pattern in the
·4··floor, for example, say this was one big piece of vinyl
·5··and these lines are just the pattern that was printed on
·6··it so there's no gaps.··But it's the same type of
·7··vinyl-type material, lightly colored.··And so 12-inch by
·8··12-inch doesn't necessarily mean it's the size of the --
·9··of the material, but the size of the pattern on the
10··material.
11·· · ·Q.· ·May I see that picture?··We've been talking
12··about it, and we haven't referenced.··It's in your file
13··which we've marked as an exhibit.··It's Deposition
14··Exhibit 7 in Ms. Barnes that's in your file.··That's the
15··one --
16·· · ·A.· ·Yes.
17·· · ·Q.· ·-- we've been talking about.
18·· · ·A.· ·Yes.
19·· · ·Q.· ·Next in the background, last sentence, you
20··say, "A vertical grab bar was not installed in
21··bathtub/shower enclosure."
22·· · · · ··This is the first time I've seen that issue
23··come up.··How did this come about, this grab bar issue?
24·· · ·A.· ·Well, it didn't just come about.··It was an
25··observation made which is relevant to this case.··There

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·1··is no grab bar that I'm aware of that was actually
·2··mounted in the -- or on the support wall or anywhere
·3··near the bathtub, the critical support or the
·4··noncritical support wall, which would have been a
·5··vertical mounted grab bar, meaning --
·6·· · ·Q.· ·Up and down?
·7·· · ·A.· ·-- up and down.··So if somebody is getting in
·8··and out of the tub, they can hang on to it.
·9·· · ·Q.· ·Did either Mr. or Ms. Barnes mention anything
10··to you about the lack of a grab bar?
11·· · ·A.· ·I don't think they mentioned a grab bar.
12·· · ·Q.· ·Plaintiffs' attorney mention about the lack of
13··a grab bar?
14·· · ·A.· ·No.
15·· · ·Q.· ·This is something you came up with on your own
16··in looking at photographs or how?
17·· · ·A.· ·Yes.
18·· · ·Q.· ·Okay.··Under your Opinions section there on
19··Exhibit 10 and the Grab Bar heading, you state, quote,
20··"It is my opinion that the Defendant should have
21··provided at least one vertically mounted grab bar near
22··the front critical support service wall of the
23··bathtub/shower enclosure as to assist bathers as they
24··enter and exit the tub-shower enclosure as required by
25··the American Society of Testing and Materials (ASTM)

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·1··F-446-99" -- quote -- "'Standard Consumer Safety
·2··Specification for Grab Bars and Accessories Installed in
·3··the Bathing Area.'"··End quote.
·4·· · · · ··Again, as we've talked, the ASTM is a
·5··completely voluntary standard, isn't it?
·6·· · ·A.· ·Yes.
·7·· · ·Q.· ·And it is not legally applicable to this condo
·8··in Sevier County Tennessee, is it?
·9·· · · · · · · ·MR. BERG:··Object to form.
10·· · ·A.· ·I don't know, but I don't think so.
11·· · ·Q.· ·(BY MR. BALL)··Okay.··You're not aware of any
12··Tennessee law, Sevier County building code, ordinance,
13··or any other provision of Tennessee law or Sevier County
14··local law that references this ASTM F-446-99 or adopts
15··it in any way, are you?
16·· · · · · · · ·MR. BERG:··Objection; form.
17·· · ·A.· ·The Americans With Disabilities Act, the ADA,
18··is requiring grab bars.··If I'm not mistaken, they
19··reference this standard.
20·· · · · ··The reason I didn't include that in my report
21··is Ms. Barnes, to my understanding, was not disabled.··I
22··think we talked about that earlier.··And so I don't want
23··to mislead the jury by saying, well, there was a
24··violation of the ADA.··Well, she wasn't disabled.··But
25··the ADA does apply to every county in the country.··And

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·1··so the use of grab bars is -- is referenced by way of
·2··law in the ADA.
·3·· · ·Q.· ·(BY MR. BALL)··But if Ms. -- if I understand
·4··you correctly, if Ms. Barnes is not disabled, then the
·5··ADA does not apply to her.··Is that what you're saying?
·6·· · ·A.· ·That's what I'm saying.
·7·· · ·Q.· ·Okay.
·8·· · ·A.· ·But -- but your question was, are there laws
·9··that --
10·· · ·Q.· ·Yes.
11·· · ·A.· ·-- require grab bars?··And the answer is yes.
12·· · ·Q.· ·Do you know whether or not Ms. Barnes or
13··Mr. Barnes, either one, requested any type of special
14··room to accommodate a disability or anything like that?
15·· · ·A.· ·I don't know.
16·· · ·Q.· ·On page 2 there, the last paragraph before
17··Bathmat, you state, "Based on the above-named nationally
18··recognized industry consensus standard for
19··bathtub/shower enclosure grab bar usage, it is clear
20··that the bathtub/shower enclosure in question was not in
21··compliance and therefore presented an unreasonably
22··dangerous condition."··End quote.
23·· · · · ··Is the nationally recognized industry
24··consensus standard you're referring to ASTM F-446-99?
25·· · ·A.· ·Yes.

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·1··myself are friends.··We've known each other for over 25
·2··years.··He and I personally worked and used his device
·3··many years ago.··So I guess I was trained by him.··He
·4··has since retired, and his device and company is owned
·5··by a new company, and they have a more advanced version
·6··of it, which I don't really work much with them.
·7·· · ·Q.· ·Do you know when the tribometer you used to
·8··test the towel in this case was last calibrated by the
·9··manufacturer?
10·· · ·A.· ·There is a sticker on the side of it.··I don't
11··know the date.··But it's been several years.
12·· · ·Q.· ·Would you agree that within the industry there
13··is some dissension as to whether there is any
14··correlation with regard to tribometer readings to actual
15··human slip accidents?
16·· · ·A.· ·Well, it depends.··There is 70 -- that I'm
17··aware of, about 70 different ways to measure surface
18··friction, which is what tribometers measure.··Many of
19··them are laboratory mounted.··Some are portable.··They
20··use various sensors, different operating methodologies
21··and procedures.··So they're all different, and so
22··obviously there is going to be different outputs from
23··these various devices.
24·· · · · ··For the most part, most of them have no real
25··test method to support their use.··For example, you can

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·1··go out and use a Brungraber test device on a floor and
·2··come up with a number.··And when asked, well, what does
·3··the number mean, the answer is we don't know because
·4··there is no standard, no method, nothing.··It's just --
·5··pardon the phrase -- a gadget.
·6·· · · · ··The Brungraber, when used to measure floor mat
·7··backings, does have credibility because there is a
·8··published and reviewed -- revised and reviewed standard
·9··specifying how to use it and defining what output
10··values, what they mean.
11·· · · · ··And so to answer your question, there is a lot
12··of gadgets that people run around with using, most of
13··which have little to any credibility.··The few that do
14··have credibility are codified by way of a national
15··standard, ANSI or otherwise.··And those are the ones
16··that the NFSI and I rely upon, which is a very small
17··number of devices.
18·· · ·Q.· ·And you're not aware of any Tennessee law,
19··Sevier County ordinance, building code, or other
20··standard adopted by Sevier County that adopts or
21··references either the NFSI standard or this value of 0.5
22··as far as TCOF, are you?
23·· · ·A.· ·No.
24·· · ·Q.· ·Same question with regard to a methodology for
25··quantifying slip resistance.··Can you point me to any

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·1··Tennessee law, Sevier County, Tennessee code, ordinance,
·2··or other standard that identifies a methodology for
·3··quantifying slip resistance?
·4·· · ·A.· ·Of?
·5·· · ·Q.· ·Something like a bath towel in this case.
·6·· · ·A.· ·No.
·7·· · ·Q.· ·All of the standards and methodology for
·8··testing coefficient of friction that you mentioned in
·9··your report are completely voluntary standards, aren't
10··they?
11·· · ·A.· ·They are voluntary, yes.
12·· · ·Q.· ·And there are no codified laws or standards in
13··Tennessee or Sevier County, Tennessee, that establish
14··0.5 or any other value as the minimum required
15··coefficient of friction or slip-resistance value, are
16··there?
17·· · ·A.· ·Of towels?
18·· · ·Q.· ·Yes.
19·· · ·A.· ·I don't know.
20·· · ·Q.· ·If you'd look with me on page 3, it's the
21··fourth paragraph down, starts with "Furthermore."
22·· · ·A.· ·Yes.
23·· · ·Q.· ·Look there, please.··You say -- you cite
24··ASTM 1637-09 and say -- it says that "Mats, runners, and
25··area rugs shall be provided with safe transition from

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·1·· · ·A.· ·Yes.
·2·· · ·Q.· ·On the other hand, say you put some adhesive
·3··on a piece of sandpaper and put that down on a bathroom
·4··floor, you put the same towel on top it, that's going to
·5··be a much more stable surface.··Correct?
·6·· · ·A.· ·Well, you're more likely to have less
·7··slippage.
·8·· · ·Q.· ·Right.
·9·· · ·A.· ·I wouldn't say it's more stable.
10·· · ·Q.· ·The -- the bath mat has not changed in either
11··of those two hypotheticals I presented you, correct?
12·· · ·A.· ·Yes.
13·· · ·Q.· ·But the floor surface has changed, correct?
14·· · ·A.· ·Yes.
15·· · ·Q.· ·And that's going to have some impact on how
16··slip resistant that bath mat is, correct?
17·· · ·A.· ·Yes.
18·· · ·Q.· ·Because it's the interaction between that
19··surface and that mat.
20·· · · · ··So this standard that was created for creating
21··a standard manufacturing type of value for bath mats,
22··it's not necessarily suited for a forensic application,
23··correct?
24·· · ·A.· ·Why not?
25·· · ·Q.· ·Because it ignores one of those variables,

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·1··floor coverings.
·2·· · ·Q.· ·So who created the NFSI 101-C along with
·3··yourself?
·4·· · ·A.· ·We had, I think, a sub -- well, there was a
·5··subcommittee of three -- two or three people.··I
·6··don't --
·7·· · ·Q.· ·A subcommittee of what?
·8·· · ·A.· ·That wrote the standard.
·9·· · ·Q.· ·But -- but what organization?
10·· · ·A.· ·NFSI.
11·· · ·Q.· ·Of NFSI?
12·· · ·A.· ·Yeah.··There was no ANSI committee at the time
13··NFSI 101-C was first developed.
14·· · ·Q.· ·Was NFSI 101-C ever subject to peer review?
15·· · ·A.· ·Well, standards are not -- in this -- in this
16··context are not peer reviewable.··They're -- the NFSI
17··standard specifically is a bit different than, say, an
18··ANSI or ASTM standard.··Those are created by committees.
19··They're consensus body committees.
20·· · · · ··NFSI is more like UL, Underwriter
21··Laboratories.··UL creates UL standards for themselves,
22··and industry there -- follows them and submits to them
23··or not.··It's voluntary.··NFSI develops their standards
24··much like the UL.··They're private standards.··They're
25··voluntary.··And industry can either adopt them or not.

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·1·· · ·Q.· ·Okay.··So these standards were never sent to
·2··any other engineers during their creation for any sort
·3··of review and feedback analysis-type process?
·4·· · ·A.· ·I don't know what you mean by "other
·5··engineers."··What other -- it was a standard that was
·6··created by and for the NFSI, approved and codified by
·7··the NFSI board of directors, published as an NFSI
·8··standard, as a voluntary standard.
·9·· · · · ··It has since gained a lot of popularity and
10··recognition by industry -- we talked about that
11··earlier -- who relies upon it and actually has their
12··products, their floor mats, tested to the standard.
13·· · ·Q.· ·Are you aware of anyone other than yourself
14··that uses the standard for forensic application?
15·· · ·A.· ·I'm sure quite a few people do.··It's a -- it
16··is -- you mean NFSI 101-C?
17·· · ·Q.· ·Yes.
18·· · ·A.· ·It is the only recognized standard for
19··measuring slip resistance of backings that I'm aware of
20··in the world.··And so anyone that's doing work in this
21··field purchases the standard.··We sell many of the
22··copy -- the standard's being sold, so I assume people
23··are using it, and it's being sold to a wide range of
24··engineers and attorneys and presumably engineers that
25··are acting as forensic engineers in matters like this.

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·1··vast majority of floor mat manufacturers use it.··I can
·2··only assume that of the hundreds of thousands of
·3··applications, when you add it all up, that this floor
·4··mat standard is widely used in the forensic expert
·5··profession.··But I don't know these people, because how
·6··would I?
·7·· · ·Q.· ·So it's only an assumption?
·8·· · ·A.· ·Well, how would I know if your client is, say,
·9··getting sued by somebody and there is a forensic expert
10··retained that's using the standard?··How would I know
11··that?··How would I know all these people?··That's what
12··I'm saying.··You're kind of setting me up with a false
13··pretense.··How would I know every single slip-and-fall
14··lawsuit that was taking place or a forensic engineer
15··that's involved in a lawsuit?··I don't know.··That's
16··beyond my -- my knowledge.
17·· · ·Q.· ·Did you consult with the manufacturer of the
18··tribometer in drafting NFSI 101-C?
19·· · ·A.· ·No.
20·· · ·Q.· ·Do you know whether taping a sample on the
21··tribometer deviates from the tribometer instructions?
22·· · ·A.· ·Well, the tribometer -- I don't know what
23··their current instructions say, but the tribometer
24··itself is defined as a floor tester.··That's what they
25··sell it as today.··We're not using it as a floor tester.

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·1··Using it as a floor mat backing sensor device.··And so
·2··the instructions as a floor tester I would presume would
·3··be different than a floor mat backing --
·4·· · ·Q.· ·Okay.··Just so -- just so it's clear on the
·5··record, NFSI 101-C states that you take -- for
·6··example -- do you mind if I pick this up?
·7·· · ·A.· ·Uh-huh.
·8·· · ·Q.· ·So you take this particular --
·9·· · ·A.· ·Material.
10·· · ·Q.· ·-- piece of material and you apply an adhesive
11··to it.
12·· · ·A.· ·No.··Tape.
13·· · ·Q.· ·Tape?
14·· · ·A.· ·There is actually tape on the foot, and you
15··just take that and -- it's a double-sided tape.··You
16··just adhere it to the tape.··And then you peel it off
17··when you're done.
18·· · ·Q.· ·Okay.··And -- and it sticks on that foot and
19··you --
20·· · ·A.· ·Yes.
21·· · ·Q.· ·Okay.··Yeah.··And --
22·· · ·A.· ·That's it.··It's a pretty simple concept, and
23··it's really very appropriate because it does simulate,
24··you know, even though it's backwards.··It's -- instead
25··of a foot coming down on the mat, it's -- or in this

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·1··application as described in NFSI Standard 101-C?
·2·· · ·A.· ·Well, again, you're confusing two things.
·3··We're not using the tribometer according to the
·4··manufacturer's -- the new manufacturer's instructions.
·5··The previous manufacturer, Dr. Brungraber, who owned a
·6··company called Slip-Test, that's the earlier -- are you
·7··talking about the current instructions?··Which
·8··instructions are you talking about?
·9·· · ·Q.· ·Well, let's talk about both.··Take the old
10··instructions first.
11·· · ·A.· ·Right.··Very -- the old instructions were
12··really designed, I guess, as they are now for -- as a
13··floor tester.··So we're not using the device as a floor
14··tester.··So to us, the instructions are irrelevant.
15··We're not using it that way.
16·· · ·Q.· ·So the -- any error rate would be inapplicable
17··because of the deviation from the instructions?··And I'm
18··talking about the old set of instructions.
19·· · ·A.· ·Well, since I'm not familiar with the new set
20··of instructions that have been used for the Brungraber
21··Mark III, because I think they don't even make the
22··Mark II anymore.··I think the instructions are
23··completely different.··We -- we don't employ the device
24··the way the instructions detail because it's -- they're
25··being used to measure floors.

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·1··know -- maybe you're just asking the wrong --
·2·· · ·Q.· ·A known --
·3·· · ·A.· ·-- the question the wrong way.
·4·· · · · ··Known error?··What is the known error of the
·5··Brungraber device?
·6·· · ·Q.· ·Yes.
·7·· · ·A.· ·Is that what you're asking me?
·8·· · ·Q.· ·Yes.
·9·· · ·A.· ·As I mentioned earlier, I think the degree of
10··accuracy is plus or minus roughly 5 percent.··Might be
11··less than that.··In the con -- way we're using it --
12·· · ·Q.· ·Well --
13·· · ·A.· ·-- that's our method.
14·· · ·Q.· ·Well, that error rate is based on its use as a
15··floor tester is the way you described it, correct?
16·· · ·A.· ·We're not using it that way.
17·· · ·Q.· ·Right.
18·· · ·A.· ·The 5 percent error rate is the way we're
19··using it.
20·· · ·Q.· ·How do you know what the error rate is?
21·· · ·A.· ·Because we measured it.··We -- I think the
22··question came up earlier about when is the last time
23··this device was calibrated.
24·· · ·Q.· ·Uh-huh.
25·· · ·A.· ·Okay.··Well, the manufacturer of this

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·1··particular device is long gone.··He's out of business.
·2··The new manufacturer, I guess, could calibrate it.··But
·3··they're calibrating it for a different purpose.
·4·· · · · ··So what we do is we -- we own this device.··We
·5··use this device.··We control it.··It's in our
·6··laboratory.··And so the rate of error is quantified as
·7··approximately plus or minus 5 percent.··That's the error
·8··rate as we use the device.··So -- is that what you're
·9··asking me?
10·· · ·Q.· ·And so you came up with that error rate?
11·· · ·A.· ·We calculated it.
12·· · ·Q.· ·Okay.··And is that published anywhere in that
13··standard?
14·· · ·A.· ·No.
15·· · ·Q.· ·Okay.··Where is the -- is there any
16··documentation of the testing to come up with that error
17··rate?
18·· · ·A.· ·Well, it's an approximate value.··And that's
19··based on the fact -- well, you brought it up.··It's
20··based on the fact that there are some factors that are
21··not exactly perfect.
22·· · · · ··For example, the tile is not a perfect tile.
23··There may be variations within the tile's coefficient of
24··friction.··The device is mechanical.··There is a certain
25··amount of movement.··You mentioned that there is a tape

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·1··that's used to hold the sample down.··When you add up
·2··all those variables of movement or what could affect the
·3··results, it's about a 5 percent deviation.
·4·· · · · ··Now, 5 percent, you know, is a reasonable
·5··deviation for a tribometer.··Most tribometers have
·6··deviations greater than 5 percent, many of them, not
·7··all, but many of them do.
·8·· · ·Q.· ·Getting back to my question, is there any
·9··documentation that shows how that error rate was
10··calculated?
11·· · ·A.· ·Maybe.··I don't know if there was or not.
12·· · ·Q.· ·Were you the one who calculated it?
13·· · ·A.· ·No, I didn't.
14·· · ·Q.· ·Who did?
15·· · ·A.· ·I'm not certain who on the subcommittee was in
16··charge of that --
17·· · ·Q.· ·Okay.
18·· · ·A.· ·-- when this was being developed.
19·· · ·Q.· ·Was there anyone with an engineering
20··background on that subcommittee?
21·· · ·A.· ·Probably.··We had a lot of folks who -- well,
22··we still have a lot of engineers that are on the
23··committee today that go back to the days of NFSI.··So --
24·· · ·Q.· ·But you said it was a three-person
25··subcommittee?

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·1·· · ·Q.· ·No.··I'm referring to the auditor of the test.
·2··There is a tech -- under NF -- I'm sorry -- NFSI 101-C,
·3··there is a technician and then there is an auditor,
·4··correct?
·5·· · ·A.· ·You're kind of mixing a couple of things up.
·6·· · · · ··The technician can be the auditor.··They're
·7··the same person.··Same pers -- it's the same person
·8··under two different names or titles.
·9·· · ·Q.· ·In the report you said the subject bath towel
10··was not affixed to the floor.
11·· · · · ··Are you suggesting that a fixation of a bath
12··mat is necessary to comply with the standard of care?
13·· · ·A.· ·Well, as a bath mat, no.··If you're using a
14··bath mat whose backing is within the compliance or the
15··standard of care, being slip resistant, then you would
16··not need to affix the mat to the floor.··But that's not
17··what happened in this case.
18·· · ·Q.· ·You mentioned that one time you stayed at a
19··Trump property as the example of when you have seen a
20··rubber-backed bath mat.
21·· · · · ··Was that particular mat placed in front of the
22··sink?··In front of the bathtub?··In front of the shower?
23·· · ·A.· ·Well, it was provided in the bathroom, and the
24··guest could put it wherever they want.
25·· · ·Q.· ·Okay.··So it wasn't already laid on the ground

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·1··all I'm saying.
·2·· · · · ··You know, I was asked for one.··Now you want
·3··two.··Right?··Is that what you want?··Two?··Three?··I'm
·4··telling you most hotels don't use them at all.··And if
·5··you're going to use them, you know, fine.··But
·6··understand there is inherent risk.
·7·· · · · ··And I want to be clear.··Hotels use these a
·8··lot and are wrong.··It's a big mistake.··And that's why
·9··I've been retained in -- I don't know -- six, seven,
10··eight lawsuits just like this.··Same stupid stuff.
11··Using a towel as a bath mat and people get hurt.
12·· · · · ··You can go to the Grapevine, whatever that
13··hotel is there, because -- in fact, that's a case I
14··remember now that had the same problem.··I think they
15··had two people slip and fall on bath towels at the
16··Gaylord Texan.··Same thing.··Maybe that's a Marriott
17··property.
18·· · · · ··So doesn't make it right.··Doesn't make it
19··right.
20·· · ·Q.· ·Okay.··Back to your first report.··And I'm
21··sorry.··I don't know what exhibit that was.
22·· · ·A.· ·1.··1.
23·· · ·Q.· ·Exhibit 1.··Okay.··At the time of that report,
24··you did not have an exemplar in your possession,
25··correct?

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·1·· · ·A.· ·That's correct.
·2·· · ·Q.· ·Okay.··You make a statement in that report
·3··about the thickness of the towel.
·4·· · ·A.· ·Uh-huh.
·5·· · ·Q.· ·What do you base your assessment of the
·6··thickness of the towel on?
·7·· · ·A.· ·Well, it was described to me.··And by the way,
·8··what I actually received is exactly what I assumed it
·9··was.··A terry cloth towel.
10·· · ·Q.· ·Okay.
11·· · ·A.· ·And so a terry cloth towel has a certain level
12··of cushion or thickness which it's designed to have to
13··absorb water.··That's what towels are for, for absorbing
14··water.··And so what I actually received was, although a
15··little bit different color -- I thought it would be
16··white.··It's actually kind of a beige color.··But it's
17··the same -- same type of terry material that I -- you
18··know, that we've all seen in hotels and bathrooms
19··everywhere in the country.
20·· · ·Q.· ·So it was an assumption?··The thickness of it
21··was just an assumption that you made?
22·· · ·A.· ·Yeah, an assumption that was later verified
23··once I received the sample of the towel.
24·· · ·Q.· ·Now, looking at the ASTM standard that you
25··cited to, the 1637 standard --

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·1··number -- this is the A1264.2 standard.
·2·· · ·A.· ·Uh-huh.··Yes.
·3·· · ·Q.· ·In paragraph 2.3, it says, "This standard is
·4··intended to apply primarily to the protection of
·5··employees in workplace situations.··It does not apply to
·6··construction, residential occupancies, floating roof
·7··tanks or marine dock facilities."
·8·· · · · ··Would you agree, then, that the situation that
·9··we're talking about in this case is outside the scope of
10··this standard?
11·· · ·A.· ·No.
12·· · ·Q.· ·On what basis would you -- would you say that
13··the standard applies even though it specifically says
14··that it does not apply?
15·· · ·A.· ·It doesn't specifically say it doesn't apply.
16··It says "primarily."··Right?
17·· · ·Q.· ·Okay.
18·· · ·A.· ·"Primarily" doesn't mean specifically, number
19··one.
20·· · · · ··Number two, this particular location, being a
21··bathroom of a hotel, for all practical purposes, would
22··be used by employees.··Right.··Somebody -- some
23··housekeeper, a worker is going to be coming into this
24··bathroom.··Right.··It's a work area for them.··They're
25··cleaning it.

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·1·· · ··I further certify that I am neither counsel for,
 · ·
·2···related to, nor employed by any of the parties or
 · ·
·3···attorneys in the action in which this proceeding was
 · ·
·4···taken, and further that I am not financially or
 · ·
·5···otherwise interested in the outcome of the action.
 · ·
·6·· · ··Certified to by me this 5th day of June, 2017.
 · ·
·7··
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·8··
 · ·
·9·· · · · · · · · · · · ·___________________________________
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